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                          UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA

 UNITED STATESOFAM ERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
                                              )           2:10-CR-356-LDG (VCF)
                                              )
 JOHN J.tSJACK''W ILLIAM S7                   )
                                              )
                     Defendant.               )
                                  ORDER OF FORFEITURE
        This Courtfound on January l3,2012,that JOl4N J.CCJACK''W ILLIAM S shallpay a

 criminalforfeituremoneyjudgmentof$965,000.00inUnitedStatesCurrency,pursuanttoFed.R.
 Crim.P.32.2(b)(1)and(2);Title18,UnitedStatesCode,Section982(a)(2)(A);Title18,UnitedStates
 Code,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);andTitle21,United
 StatesCode,Sectïon853(p),(OrderofForfeiture,ECF No.228)
        THEREFORE,ITIS HEREBY ORDERED,ADJUDGED,AND DECREED thattheUnited

 Statesrecoverfrom JOHN J.ECJACK''W ILLIAMS acriminalforfeiture moneyjudgmentin the
 amountof$965,000.00inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);
 Title18,UnitedStatesCode,Section982(a)(2)(A);Titlel8,UnitedSutesCode,Section981(a)(1)(C)
 andTitle28,UnitedStatesCode,Section2461(c);andTitle21,UnitedStatesCode,Section853(p),
        DATED this , /f dayof             *               ,2012.
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